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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

KHALFANI M. ATKINSON

             Petitioner,

v.                                              CIVIL ACTION NO. 1:06cv19
                                                      (Judge Keeley)

UNITED STATES OF AMERICA,

             Respondent.


     ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       On February 7, 2006, the pro se petitioner, Khalfani Atkinson

(“Atkinson”), filed a petition pursuant to 28 U.S.C. § 2255 in

which he raised four grounds for relief, including ineffective

assistance    of   counsel.    Pursuant    to   Local   Rule   of   Prisoner

Litigation 83.15, this Court referred the matter to United States

Magistrate Judge John S. Kaull for initial screening and a Report

and Recommendation (“R&R”).

       On June 27, 2008, Magistrate Judge Kaull issued an R&R

recommending that claims one, two, and three of Atkinson’s petition

be denied and dismissed with prejudice.           He determined, however,

that he would need to conduct an evidentiary hearing to properly

evaluate Atkinson’s fourth claim of ineffective assistance of

counsel.

       Following that hearing, Magistrate Judge Kaull issued a second

R&R   on   February   10,   2009   in   which    he   recommended   granting

Atkinson’s § 2255 motion on the ground that he had not received
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effective assistance of counsel.                     The R&R found that Atkinson’s

attorney, Jason Russo (“Russo”), had affirmatively misrepresented

the    consequences        Atkinson’s       guilty        plea    would     have    on   his

immigration status, and it recommended the withdrawal of Magistrate

Judge Kaull’s June 27, 2008 R&R, as well as Atkinson’s guilty plea.

On February 25, 2009, the Government objected to the R&R, and, on

March     27,    2009,     the     petitioner         filed      his   response     to   the

objections.

        Following a de novo review, the Court ADOPTS Magistrate Judge

Kaull’s February 10, 2009 R&R in its entirety, and GRANTS the

petition        on   the   ground        that       Atkinson     received      ineffective

assistance of counsel.

                                        I. Background

        Atkinson is a Jamaican citizen who has lived in the United

States for twelve years.                On June 24, 2003, he pleaded guilty to

distribution         of    crack    cocaine,          a   violation       of   21    U.S.C.

§§ 841(a)(1) and 841(b)(1)(C), and this Court sentenced him to 168

months of incarceration.            Upon completion of his federal sentence,

Atkinson        is   subject       to    deportation          pursuant    to    8    U.S.C.

§ 1227(a)(2)(A)(iii) due to the fact that his crime is considered

an aggravated felony under 8 U.S.C. § 1101(a)(43)(B) because it

involved “illicit trafficking in a controlled substance.”                             After

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learning that he might be deported, Atkinson filed a notice of

appeal on January 7, 2004, which the Fourth Circuit dismissed as

untimely on November 10, 2004.

      On February 7, 2006, Atkinson filed a petition pursuant to 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence.

Atkinson’s petition rests on four grounds.             First, he claims that

his guilty plea was unlawfully induced or not made voluntarily or

with a full understanding of the consequences because the Court had

a duty to inform him of the deportation consequences at his Rule 11

hearing.    He further contends that the Government did not disclose

all of the material terms or promises of the plea agreement,

including a secret agreement not to pursue a leadership role

enhancement.     Second, he asserts that the drug quantity used to

increase his sentence was not determined by a grand jury, and thus

its use violates his Due Process rights.           Third, he alleges that

the prosecutor misled the Court at sentencing by introducing

hearsay statements of co-conspirators and perjured testimony in

violation of the Due Process Clause. Fourth, he claims that he was

not    effectively     represented        by   Russo    based   on   Russo’s

misrepresentation of the law when he informed Atkinson that his

guilty plea would not subject him to deportation proceedings, and

when he failed to file a timely notice of appeal.

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                     II. Magistrate Judge Kaull’s R&R

      As noted, in his first R&R, Magistrate Judge Kaull recommended

that the Court deny Atkinson’s first three grounds for relief and

scheduled an evidentiary hearing to inquire further into Atkinson’s

claim of ineffective assistance of counsel. During that evidentiary

hearing, Atkinson testified that he had pleaded guilty because

Russo had assured him that a guilty plea would not affect his

immigration status.       Moreover, Atkinson said that his lawyer’s

advice was a factor in his decision to plead guilty.

      Magistrate Judge Kaull’s second R&R recommended that the Court

grant   Atkinson’s    petition   based    on   ineffective   assistance    of

counsel. Although he did not find that Atkinson’s counsel had been

ineffective for failing to file a timely appeal, he did conclude

that Russo had affirmatively misled Atkinson about the possible

deportation consequences that could result from his guilty plea to

a drug distribution felony charge.

              III. The Government’s Objection to the R&R

      The   United    States   objects    to   Magistrate    Judge   Kaull’s

conclusion that Atkinson sufficiently established that his attorney

had affirmatively misled him regarding the legal consequences of

his guilty plea.        The Government argues that Atkinson should

somehow have been required to produce from Russo some corroboration

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of Atkinson’s testimony that he not only had discussed deportation

with Atkinson, but also had affirmatively misled him on this

matter.     The Government further contends that Magistrate Judge

Kaull failed to adequately explore Atkinson’s motive to testify

falsely.     In sum, because Russo did not corroborate Atkinson’s

version of events, and because Atkinson had a motive to lie, the

Government argues that Atkinson’s testimony alone is insufficient

to establish by a preponderance of the evidence that his attorney’s

performance was constitutionally deficient.

                             IV. De Novo Review

      “A prisoner in custody under sentence of a court established

by Act of Congress claiming the right to be released upon the

ground     that    the   sentence   was       imposed   in   violation    of   the

Constitution or laws of the United States, or that the court was

without jurisdiction to impose such sentence, or that the sentence

was in excess of the maximum authorized by law, or is otherwise

subject to collateral attack, may move the court which imposed the

sentence to vacate, set aside or correct the sentence.”                  28 U.S.C.

§ 2255(a).        A petitioner who collaterally attacks his conviction

under § 2255 bears the burden of establishing his grounds by a

preponderance of the evidence. See Miller v. United States, 261

F.2d 546, 547 (4th Cir. 1958).

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        The Sixth Amendment right to counsel is the right to the

effective assistance of counsel.               Strickland v. Washington, 466

U.S. 668, 686 (1984).             To establish ineffective assistance of

counsel,     the    petitioner     must    show      (1)        that    his   attorney’s

representation fell below an objective standard of reasonableness,

and (2) that counsel’s unreasonable errors had a prejudicial effect

on the petitioner’s defense.          Id. at 688, 694.

        The two-prong Strickland test applies to challenges to guilty

pleas    based     on   ineffective   assistance           of    counsel.        Hill    v.

Lockhart, 474 U.S. 52, 58 (1985).             In this particular context, the

first    prong     of   the   Strickland      test    is    nothing       more    than    a

restatement of the general competency standard.                         Id.   The second

prong, however, is more specific because, to show prejudice, “the

defendant must show that there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.”               Id. at 59.          “A reasonable

probability is a probability sufficient to undermine confidence in

the outcome.”       Strickland, 466 U.S. at 694.

        In considering a petitioner’s claim of ineffective assistance

of counsel, “a court must indulge a strong presumption that

counsel’s    conduct      falls   within      the    wide       range    of   reasonable

professional assistance.”           Id. at 690.        However, the Court must

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review    the   reasonableness    of   counsel’s    conduct      against   the

particular facts of each case.         Id.

A.   Failure to File a Timely Appeal

       It is well-established that a criminal defense attorney who

fails to file a notice of appeal at the request of his client

deprives his client of his Sixth Amendment right to the effective

assistance of counsel. United States v. Peak, 992 F.2d 39, 42 (4th

Cir. 1993).      In addition, it does not matter whether the lost

appeal had a reasonable probability of success.            Id.    Under this

rule, had Atkinson asked his attorney to file a notice of appeal,

Russo’s failure to do so would have violated Atkinson’s rights

under the Sixth Amendment.

       In this case, although Atkinson may have been confused about

the appellate procedure, the record establishes that he understood

he had a right of appeal.        At the evidentiary hearing, Atkinson

himself testified that he knew an appeal procedure existed, and

that Russo had told him he could appeal his sentence if it was

wrong or too long.     Atkinson, however, never asked his attorney to

file an appeal.

       Atkinson was emotionally distraught after being sentenced and

asked Russo to speak with him following the sentencing hearing. At

the evidentiary hearing before Magistrate Judge Kaull, Atkinson

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testified that he could not recall exactly what he asked his

attorney to do during that meeting.         Nevertheless, he argues that

Russo should have taken the initiative to outline his available

appellate options. These vague verbal exchanges, in which Atkinson

did not explicitly ask his attorney to file a notice of appeal,

cannot be construed as a request for appeal that would support a

finding of ineffective assistance of counsel.

      Nor can the discussions Atkinson’s aunt had with Russo be

construed as a request for appeal.              Atkinson’s aunt, Angela

Williams (“Williams”), discussed post-sentencing options with Russo

and    understood    that    Atkinson’s     participation      in   a   drug

rehabilitation program, as well as a boot-camp program, could

possibly shorten his sentence.        Although Williams apparently, and

mistakenly, believed that these programs were part of the appeal

process, they are not. Thus, her request that Russo help Atkinson

gain entry into these prison programs does not amount to a request

for an appeal.

      The Court agrees with the R&R’s finding that the various

conversations Russo had with Atkinson and Williams do not amount to

a request for appeal, and finds that Russo’s failure to file an

appeal was reasonable in light of the circumstances and does not

amount to ineffective assistance of counsel.

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B.    Affirmative Misrepresentation of Plea Consequences

        An attorney has no spontaneous duty to inform his client that

a guilty plea will lead to deportation. U.S. v. Yearwood, 863 F.2d

6, 8 (4th Cir. 1988).           Thus, standing alone, an attorney’s failure

to advise his client that a conviction could result in deportation

does not constitute ineffective assistance of counsel. Id. at 7-8.

An    attorney’s    affirmative       misrepresentations         to     a   defendant

regarding the consequences of a guilty plea, however, do violate

the     first    prong     of    Strickland       and   fall    below       prevailing

professional norms. See U.S. v. Gajendragadkar, 1998 WL 352866, *2

(4th Cir. 1998) (unpublished). See also United States v. Kwan, 407

F.3d 1005, 1015 (9th Cir. 2005)(“We agree that where, as here,

counsel has not merely failed to inform, but has effectively

misled,    his    client    about     the       immigration    consequences      of   a

conviction, counsel’s performance is objectively unreasonable under

contemporary standards for attorney competence.”); United States v.

Couto, 311 F.3d 179, 188 (2nd Cir. 2002)(“We believe that an

affirmative misrepresentation by counsel as to the deportation

consequences of a guilty plea is today objectively unreasonable.

We therefore hold that such a misrepresentation meets the first

prong of the Strickland test.”).



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        Once a court determines that an attorney affirmatively misled

a defendant regarding the consequences of a guilty plea, under

Strickland it must then determine “‘whether a reasonable defendant

in [the defendant’s] shoes, having asked for, received, and relied

upon encouraging advice’ about the risks of deportation, ‘would

have pled guilty anyway had he known’ that his attorney was

mistaken.”     Gajendragadkar, 1998 WL 352866 at *2.

        A careful review of the record in this case establishes that

Russo’s conduct fell below an objectively reasonable standard

because he affirmatively misinformed Atkinson about the deportation

consequences of pleading guilty to a drug distribution felony

charge.     During his criminal proceedings, Atkinson asked Russo at

least twice about the possibility of deportation.            First, he asked

Russo about deportation at their initial meeting, during which they

discussed the plea agreement.        Second, he again asked Russo about

deportation during the plea hearing itself.

        On both occasions, Russo assured Atkinson that a guilty plea

would     neither   affect    his   immigration     status    nor   lead   to

deportation.     The crime to which Atkinson pled guilty, however, is

an aggravated felony for which he is subject to deportation. See 8

U.S.C. §§ 1101(a)(43)(B) and 1227(a)(2)(A)(iii).              Thus, because

Atkinson twice asked Russo what consequences a guilty plea would

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have on his status in this country, and because, on both occasions,

Russo assured him that he would not be deported, this Court agrees

with the R&R and finds that Russo’s conduct fell below an objective

standard of reasonableness.

      Based on this finding, the Court must next determine whether

Atkinson would have pleaded guilty anyway, even knowing that his

attorney was mistaken about the legal consequences a guilty plea

would have on his immigration status.          The Court cannot help but

find that the answer to this question clearly is “no.”

      As reflected in the record, Atkinson was preoccupied with

worry over the possibility of deportation.           He had lived with his

family in the United States for approximately twelve years, and

deportation would have shattered the life he had built in America.

Importantly, as he testified at the evidentiary hearing, Russo’s

advice was a factor in his decision to plead guilty.            Had he been

given accurate information about being subject to deportation

should he plead guilty, Atkinson testified that he would have

decided differently and rejected the plea agreement in favor of

going to trial.      Based on such testimony, the Court agrees that

there is a reasonable probability Atkinson would not have pleaded

guilty had he received accurate advice from Russo about the

likelihood of deportation.

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C.   Government’s Objections

       The Government objects to the conclusion that Atkinson has met

his burden of proof in this case, and argues that the Magistrate

Judge erroneously shifted the burden of proof to the Government,

minimized Russo’s absence, failed to inquire into why Atkinson

failed either to produce Russo or submit an affidavit from him, and

failed to examine Atkinson’s motive to testify falsely.

       The focus of the Court’s inquiry, however, is not on what

Russo’s testimony might have been, but on “‘whether a reasonable

defendant in [Atkinson’s] shoes, having asked for, received, and

relied upon encouraging advice’ about the risks of deportation,

‘would have pled guilty anyway had he known’ that his attorney was

mistaken.”      Gajendragadkar, 1998 WL 352866 at *2.            As the R&R

clearly recognizes, it is the Court’s province to judge the

credibility of a witness and to determine whether testimony is

sufficient to meet the burden of proof.                In this case, the

Magistrate Judge found that Atkinson’s testimony was credible and

that he had met his burden of proof.

       While the Government does not argue that Atkinson had to

produce Russo to testify at the hearing, or to submit an affidavit

from him in support of Atkinson’s testimony, it relies on United

States v. Polizzi, 926 F.2d 1311, 1221-22 (2nd Cir. 1991), to argue

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that the Court should draw a negative inference against Atkinson

for failing to question witnesses regarding disputed facts.1 Here,

however, no such inference is warranted. Atkinson swore under oath

to tell the truth and testified to his own motives in deciding to

plead guilty, and the Court finds his testimony credible.

      In light of all these facts, after conducting a de novo

review,     the   Court    agrees     with   Magistrate     Judge    Kaull’s

recommendation and finds that Russo affirmatively misled Atkinson

about the legal consequences of his guilty plea, and that Atkinson

received ineffective assistance of counsel as a result.             Atkinson

testified credibly that, had he known a guilty plea would lead to

his deportation, he would not have pleaded guilty but, instead,



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        The Government also relies on United States v. Santelises,
476 F.2d 787, 790 n.3 (2nd Cir. 1973), to argue that Atkinson’s
failure to corroborate his allegations by submitting an affidavit
from his counsel “independently justifies” rejecting his claim. The
Government’s reliance is misplaced because in Santelises, the
petitioner merely claimed that he was unaware of the possibility of
deportation because the Court failed to warn him, not that he had
been affirmatively misled by his attorney. Id. at 790. See also
United States v. Santelises, 509 F.2d 703, 704 (2nd Cir. 1975)(per
curiam)(noting in a subsequent petition by the same petitioner that
his submission of an affidavit from his attorney failed to state a
claim for ineffective assistance of counsel because it did not aver
that the attorney had made an affirmative misrepresentation). The
instant case is easily distinguished from Santelises because
Atkinson testified not that the Court had a duty to warn him of
possible deportation, but that his attorney affirmatively misled
him.

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would have put the Government to its burden of proof at trial.

Thus, his Sixth Amendment right to effective assistance of counsel

has been violated based on his showing that (1) his attorney’s

performance fell below an objective standard of reasonableness, and

(2) he suffered prejudice as a result.            Strickland, 466 U.S. at

688, 694.

                               V. Conclusion

      For the foregoing reasons, the Court ADOPTS Magistrate Judge

Kaull’s February 10, 2009 R&R in its entirety, GRANTS Atkinson’s

§2255 petition on the basis of ineffective assistance of counsel,

WITHDRAWS Atkinson’s guilty plea, and DIRECTS the Clerk to close

this case and strike it from the Court’s docket.

      It is so ORDERED.

      The Court also DIRECTS the Clerk to transmit copies of this

Order to the pro se petitioner via certified mail, return receipt

requested, and all appropriate agencies.

Dated: March 31, 2009


                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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